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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                            Criminal Action No.
          v.
                                            1:23-CR-047
   K RISTOPHER K NEUBUHLER


               Motion to Modify Defendant’s Conditions of Release
                    or, in the Alternative, to Revoke Release

   The United States of America, by Ryan K. Buchanan, United States Attorney,
and Theodore S. Hertzberg, Assistant United States Attorney for the Northern

District of Georgia, files this Motion to Modify Defendant’s Conditions of Release
or, in the Alternative, to Revoke Release. The Government submits the following
in support:

       1. On January 9, 2023, Defendant appeared before the Honorable Catherine
M. Salinas, United States Magistrate Judge, following his arrest on a criminal
complaint. [Docs. 1, 3.] The criminal complaint had been filed in Case No. 1:23-MJ-
027-CMS.1
       2. On January 12, 2023, upon the conclusion of a two-hour-long detention
hearing, the Court released Defendant on a $100,000 unsecured bond and imposed



   1  Case No. 1:23-MJ-027-CMS was closed upon the opening of the instant case,
following the return of an indictment that charges Defendant with receiving and
possessing visual depictions of minors engaged in sexually explicit conduct. [Doc.
11.]
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numerous conditions of release. [Docs. 6, 7, 8.] Among those conditions were that
Defendant must reside at his mother’s home; have no contact with his own minor
children except by FaceTime using his mother’s phone and with his mother
nearby; be restricted to his mother’s residence at all times with very few
exceptions, including for employment between the hours of 9am-5pm; submit to
location monitoring; and not use any computer other than desktop computers
equipped with IPPC monitoring software for work on weekdays between 9am-
5pm. [Doc. 8 at 2-4.] Defendant was specifically prohibited from using any laptop

computers. [Doc. 8 at 4.]
       3. On February 8, 2023, the undersigned was alerted that Defendant had
been observed at the home in Roswell, where, upon information and belief,

Defendant’s wife and minor children continue to reside while Defendant is on
home detention at his mother’s house in Powder Springs. The undersigned
promptly contacted United States Probation Officer (“USPO”) Abnel Albaladejo-

Torres, who has been tasked with supervising Defendant while on pretrial release.
According to USPO Albaladejo-Torres, the location monitoring system has tracked
Defendant to the Roswell residence on numerous occasions. When questioned by
USPO Albaladejo-Torres about that, Defendant claimed the Roswell residence as
his “showroom” and place of business. According to USPO Albaladejo-Torres,
Defendant asserted that his conditions of release require him to work and do not

prohibit him from being at the Roswell residence for work.2


   2  Statements made by Defendant and his attorney at the detention hearing left
the undersigned with the impression that Defendant, who is self-employed, would

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      4. USPO Albaladejo-Torres has told the undersigned that, because
Defendant is not currently living at the Roswell residence, he has neither inspected
nor searched that home and, therefore, does not know what electronic devices are
present there. USPO Albaladejo-Torres also reported that IPPC software has been
installed only on a laptop computer that Defendant has been using in apparent
contravention of the clear prohibition set forth in this Court’s release order. None
of the electronic devices at the Roswell residence is equipped with the IPPC
software.

      5. Pursuant to 18 U.S.C. § 3142(c)(3), this Court may at any time amend a
release order to impose additional or different conditions of release. Pursuant to
18 U.S.C. § 3148(b), an attorney for the Government may initiate a proceeding for

revocation of an order of release. The Court must enter an order of revocation and
detention if, after a hearing, the Court finds there is clear and convincing evidence
that the defendant has violated a condition of release and that either (i) there is no
condition or combination of conditions of release that will assure that the person
will not flee or pose a danger to the safety of any other person or the community
or (ii) the defendant is unlikely to abide by any condition or combination of
conditions of release. 18 U.S.C. § 3148(b)(1)-(2).



work from his mother’s residence or a non-residential office space. The
undersigned does not recall any suggestion by Defendant or his attorney that
Defendant would return to the Roswell residence while subject to conditions
requiring him to live elsewhere. Unfortunately, as of the filing of this motion, the
Government has been unable to obtain an official transcript of the detention
hearing.


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      6. The Government respectfully submits that, at a minimum, Defendant’s
conditions of release should be modified to clarify that Defendant may not work
from the Roswell residence, that the Roswell residence is off limits to him, and that
any premises from which Defendant works may be subject to searches conducted
by a USPO. The Government also requests that this Court set a hearing regarding
Defendant’s apparent violation of the existing conditions of release as set forth
above and order such further relief as the Court deems just and proper.

                                          Respectfully submitted,

                                          R YAN K. B UCHANAN
                                             United States Attorney


                                      /s/T HEODORE S. H ERTZBERG
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                             Certificate of Service

The United States Attorney’s Office served this document today by filing it using
the Court’s CM / ECF system, which automatically notifies the parties and counsel
of record.


February 10, 2023


                                         /s/ T HEODORE S. H ERTZBERG

                                         T HEODORE S. H ERTZBERG
                                         Assistant United States Attorney
